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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                  CASE NUMBER: 12-20269
                                                HONORABLE VICTORIA A. ROBERTS

v.

D-1, GLENN ENGLISH,
D-4, DONALD BERRY,
D-5, FELICIA MARSH,

                    Defendants.
                                                    /

        ORDER REGARDING DEFENDANTS’ MOTIONS TO MODIFY BOND

      Before the Court are Defendants’ Motions to Modify Bond. (Doc. #s 44, 46, 50).

Defendant Glenn English is charged with one count of conspiring to commit health care

fraud and five counts of health care fraud. Defendants Donald Berry and Felicia Marsh

are charged with conspiring to commit health care fraud. Magistrate Judge Mark A.

Randon ordered them released on bond pending trial, imposing various conditions of

release. One condition, imposed on all three, is that they avoid contact with

Medicare/Medicaid beneficiaries. Defendants ask the Court to modify or remove this

condition. The Court reviewed Magistrate Judge Randon’s release orders pursuant to

18 U.S.C. § 3145(a)(2). To the extent Defendants request removal of this condition in

its entirety, their Motions are DENIED.

      However, the Court amends the release orders to indicate Defendants shall have

no contact with Medicare/Medicaid Beneficiary Information–rather than



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Medicaid/Medicare beneficiaries–except to the extent that they and their counsel must

review that information to prepare for trial. Hopefully, this will alleviate Defendants’

concerns regarding maintaining employment and their ability to interact with family

members (and defense counsel) receiving Medicare.

       Defendants Marsh and Berry both social workers, and the Government alleges

they allowed their Medicare provider identification numbers (PINs) to be used to defraud

the Medicare program. Because of the nature of the charge and allegations in the

Indictment, the Court will maintain the condition that these Defendants may not use, or

permit the use of, their PINs to bill Medicare. Nor may they order items or services for a

Medicare beneficiary that might later be used to bill Medicare. Depending on the nature

of their jobs, this may or may not restrict their access to not only Medicare beneficiary

information, but also to Medicare beneficiaries themselves. In either case, this condition

will remain in place. Of course, Defendants may maintain contact with family members,

friends, and defense counsel who receive Medicare, so long as they do not allow their

PINs to be used to bill Medicare in connection with these relationships. However, to the

extent their current employment requires the use of their Medicare PINs, or requires

them to order tests and services that may later be used to bill Medicare, Defendants

cannot maintain that employment and must search for other work.

       IT IS ORDERED.


                                           S/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge

Dated: July 16, 2012



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The undersigned certifies that a copy of this
document was served on the attorneys of
record by electronic means or U.S. Mail on
July 16, 2012.

S/Linda Vertriest
Deputy Clerk




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